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                       UNITED STATES DISTRICT COURT
                       SOUTHERN DISTRICT OF FLORIDA
                                 CASE NO.

  CARYN PINCUS, individually,

        Plaintiff,

  v.

  SYNDICATED OFFICE SYSTEMS, INC.,
  (doing business as “Central Financial Control”),
  a foreign corporation,

       Defendant.
  _________________________________________/

          COMPLAINT FOR VIOLATIONS OF 15 U.S.C. § 1692 et seq.,
             THE FAIR DEBT COLLECTION PRACTICES ACT
                          JURY DEMAND

        1.     Plaintiff alleges violation of the Fair Debt Collection Practices Act, 15

  U.S.C. § 1692 et seq. (“FDCPA”). Simply put, in its telephonic efforts to collect a

  consumer debt from Plaintiff, Defendant failed to disclose the purpose of its call to

  Plaintiff as well as its identity as a debt collector, both of which are federally

  mandated requirements of debt collectors pursuant to the FDCPA.

                           JURISDICTION AND VENUE

        2.     This Court has jurisdiction under 28 U.S.C. §§ 1331, 1337 and 15

  U.S.C. § 1692k. Venue in this District is proper because Plaintiff resides here and

  Defendant does business in this District.
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                                       PARTIES

          3.   Plaintiff, CARYN PINCUS, is a natural person, and a citizen of the

  State of Florida, residing in Palm Beach County, Florida.

          4.   Defendant SYNDICATED OFFICE SYSTEMS, INC. (“Defendant”),

  conducts its business sunder the name “Central Financial Control” and is a foreign

  corporation primarily operating from offices located at 1445 Ross Avenue, Suite

  1400, Dallas, Texas 75202.

          5.   Defendant regularly uses the telephone in a business, the principal

  purpose of which is the collection of consumer debts.

          6.   At all times material to the allegations of this complaint, Defendant

  was acting as a debt collector with respect to the collection of Plaintiff’s alleged

  debt.

          7.   With respect to the “Congressional findings and declaration of

  purpose” portion of the FDCPA, The United States Congress has declared at 15

  U.S.C. § 1692:

               (a) Abusive practices
               There is abundant evidence of the use of abusive, deceptive, and
               unfair debt collection practices by many debt collectors. Abusive debt
               collection practices contribute to the number of personal bankruptcies,
               to marital instability, to the loss of jobs, and to invasions of individual
               privacy.

               (b) Inadequacy of laws
               Existing laws and procedures for redressing these injuries are
               inadequate to protect consumers.

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                             FACTUAL ALLEGATIONS

         8.     Defendant, on behalf of a medical provider, sought to collect an

  alleged consumer debt from Plaintiff arising from personal medical services having

  been rendered to Plaintiff by said provider.

         9.     Between October 2009 and February 2010, in an effort to collect an

  alleged debt from Plaintiff, Defendant called Plaintiff at least seventeen (17) times

  at her home; each call played a pre-recorded voicemail message.

         10.    Plaintiff was able to record and transcribe three (3) of the voicemail

  messages from Defendant; a transcript of Defendant’s voicemail messages to

  Plaintiff is as follows:


         This is a message from Central Financial Control please call us at 1-
         800-300-7192 so that we can speak with you regarding this personal
         business matter. Thank you.


         This is a message from Central Financial Control for Caryn Pincus
         regarding a personal business matter. Please call 1-800-300-7192
         between the hours of 8am and 5pm Monday through Friday, once
         again the number to call is 1-800-300-7192. Thank You.


         This is a message from Central Financial Control please call us at 1-
         800-300-7192 so that we can speak with you regarding this personal
         business matter. Thank you.


         11.    The telephone messages are “communications” as defined by 15

  U.S.C. § 1692a(2). See Berg v. Merchs. Ass'n Collection Div., Case No. 08-

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  60660-Civ-Dimitrouleas/Rosenbaum, 2008 U.S. Dist. LEXIS 94023 (S.D. Fla.

  Oct. 31, 2008).

        12.    The voicemail messages failed to properly disclose that Defendant is a

  debt collector in violation of 15 U.S.C § 1692e(11).         Foti v. NCO Financial

  Systems, Inc., 424 F.Supp.2d 643 (S.D.N.Y. 2006); Belin v. Litton Loan Servicing,

  2006 U.S. Dist. LEXIS 47953 (M.D. Fla. 2006); Leyse v. Corporate Collection

  Servs., 2006 U.S. Dist. LEXIS 67719 (D.N.Y. 2006).

        13.    Defendant failed to disclose the purpose of the communication by

  stating that it was in regard to a “personal business matter” when the true purpose

  behind the call was to collect a debt from Plaintiff. See generally, Wright v. Credit

  Bureau of Georgia, Inc., 548 F. Supp. 591, 593 (D. Ga. 1982); Hosseinzadeh v.

  M.R.S. Assocs., 387 F. Supp. 2d 1104 (D. Cal. 2005).

        14.    The FDCPA has been construed by Federal Courts as a strict liability

  statute that is to be construed liberally so as to effectuate its remedial purpose. See

  generally, LeBlanc v. Unifund CCR Partners, 601 F.3d 1185 (11th Cir. March 30,

  2010); Russell v. Equifax A.R.S., 74 F.3d 30, 33 (2d Cir. 1996).

        15.    Federal Courts have held that the failure to properly identify oneself

  as a debt collector in a voicemail message left on an answering machine or state

  that a voicemail message was left as an attempt to collect a debt constituted a valid

  claim under the FDCPA. Anchondo v. Anderson, Crenshaw & Associates, LLC,


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  583 F.Supp.2d 1278 (D. New Mexico 2008); Edwards v. Niagara Credit Solutions,

  Inc., 2009 U.S. App. LEXIS 22500 (11th Cir. 2009).

        16.    Plaintiff has elected to opt out of a pending class action lawsuit

  against Defendant, which involves the same and/or similar claims as to those

  alleged in the instant lawsuit. Brown v. Syndicated Office Systems, Inc., Case No.

  9:10-cv-80465-JIC (Original date of filing: April 2, 2010).

        17.    The Supreme Court has held that the statute of limitations is tolled

  and/or extended for those electing to opt out of a class action and file individual

  claims. Crown, Cork & Seal Co. v. Parker, 462 U.S. 345 (1983).

                             COUNT I
         FAILURE TO DISCLOSE STATUS AS A DEBT COLLECTOR

        18.    Plaintiff incorporates Paragraphs 1 through 17.


        19.    Defendant’s voicemail messages failed to disclose to Plaintiff that it

  was a debt collector in violation of 15 U.S.C § 1692e(11). See Chalik v. Westport

  Recovery Corp., 677 F.Supp.2d 1322 (S.D. Fla. October 30, 2009) (holding that

  debt collectors leaving voicemail messages requesting a return phone call on a

  consumer debt are subject to the requirements of 15 U.S.C § 1692e(11))


        WHEREFORE, Plaintiff requests that the Court enter judgment in favor of

  Plaintiff and against Defendant for:




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               a.    Damages;


               b.    Attorney’s fees, litigation expenses and costs of the instant suit;

                     and

               c.    Such other or further relief as the Court deems proper.

                             COUNT II
              FAILURE TO MAKE MEANINGFUL DISCLOSURE

        20.    Plaintiff incorporates Paragraphs 1 through 17.

        21.    Defendant placed telephone calls to Plaintiff without making a

  meaningful disclosure of the true purpose behind Defendant’s communications in

  violation of 15 U.S.C §1692d(6). See Valencia v The Affiliated Group, Inc., Case

  No. 07-61381-Civ-Marra/Johnson, 2008 U. S. Dist. LEXIS 73008 (S.D. Fla.

  September 23, 2008).

        WHEREFORE, Plaintiff requests that the Court enter judgment in favor of

  Plaintiff and against Defendant for:

               a.    Damages;

               b.    Attorney’s fees, litigation expenses and costs of suit; and

               c.    Such other or further relief as the Court deems proper.

                                         JURY DEMAND

         Plaintiff demands trial by jury.

  Dated this 23rd day of July, 2011.



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